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                               State of California
                                   Secretary of State
                               Statement of Information                                                                          FV54348
                                       (Foreign Corporation)
                             FEES (Filing and Disclosure): $25.00.                                                                 FILED
                          If this is an amendment, see instructions.                                               In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                               MAR-28 2018
     ALL AMERICAN SPORTS CORPORATION, WHICH WILL DO BUSINESS IN CALIFORNIA AS, ALL
     AMERICAN RECONDITIONING CORP.




2. CALIFORNIA CORPORATE NUMBER
                                                                    C1877036                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.     If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
       of State, or no statement of information has been previously filed, this form must be completed in its entirety.
             If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
             of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
7501 PERFORMANCE LANE, NORTH RIDGEVILLE, OH 44039
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE
2888 EAST SPRUCE STREET, ONTARIO, CA 91761
6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE
DIANA SPRADLING             7501 PERFORMANCE LANE, NORTH RIDGEVILLE, OH 44039
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 DAN ARMENT            1700 W. HIGGINS ROAD SUITE 500, DES PLAINES, IL 60018
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
DAN ARMENT             1700 W. HIGGINS ROAD SUITE 500, DES PLAINES, IL 60018
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
ALLISON BOERSMA               1700 W. HIGGINS ROAD SUITE 500, DES PLAINES, IL 60018
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 CORPORATION SERVICE COMPANY WHICH WILL DO BUSINESS IN CALIFORNIA AS CSC - LAWYERS INCORPORATING SERVICE
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
SALES OF ATHLETIC EQUIPMENT
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 03/28/2018             DIANA SPRADLING                                           TAX ANALYST
      DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                         TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE
